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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                        GREAT FALLS DIVISION


 UNITED STATES OF AMERICA,                 CR-16-19-GF-BMM

                 Plaintiff,
                                                 ORDER
       v.


 ENCORE SERVICES, LLC,
 ZACHARY BROOKE ROBERTS,
 MARTIN GASPER MAZZARA, and
 RICHARD LEE BROOME

                 Defendants.


      On April 19, 2017 the Court received for an in camera review a privilege log
and the three documents identified in the privilege log, (Doc. 234.) IT IS
HEREBY ORDERED that the Non-Party Chippewa Cree Tribe must provide to
the Court for an in camera review these same documents with the redactions
exactly as they were previously produced in Case No. CV-14-63-GF-BMM by
5:00 p.m. MST on April 20, 2017.

      DATED this 20th day of April, 2017.




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